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        TORRANCE REFINING COMPANY LLC
    8   [Additional counsel listed on signature page]
    9
  10                          UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12                                   WESTERN DIVISION
  13
  14    JOSE NAVARRO,                                   Case No. 2:17-cv-02477-DSF (SKx)
  15                             Plaintiff,             JOINT STIPULATION TO
                                                        CONTINUE TRIAL AND
  16                                                    PRETRIAL DATES AND
              vs.                                       WITHDRAW EX PARTE
  17                                                    APPLICATION
        EXXONMOBIL CORPORATION, et al.,
  18
                                 Defendants.            Judge: Dale S. Fischer
  19                                                    Dept. 7D
  20
  21
  22
              Plaintiff Jose Navarro (“Plaintiff”) and Defendant Torrance Refining
  23
        Company LLC (“TORC”) 1 (collectively, the “Parties”), by and through their
  24
  25
        1
  26     The only cause of action pled against ExxonMobil in Plaintiff’s Corrected Third
        Amended Complaint has been dismissed with prejudice. Dkt. 304 at 12 (“The Court
  27    grants TORC’s motion and dismisses Navarro’s trespass claim with prejudice.”)
  28    ExxonMobil takes no position regarding the pretrial and trial schedule, as these
        dates do not apply to ExxonMobil.
                                                              JOINT STIPULATION TO CONTINUE TRIAL
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    1   respective undersigned counsel, hereby stipulate and agree as follows:
    2           WHEREAS, on October 8, 2021, Plaintiff filed a Motion to Substitute Jose
    3   Navarro for Hany Youssef as class representative in the above-captioned matter
    4   (“Motion to Substitute”) (Dkt. 263);
    5           WHEREAS, following briefing and submission of competing proposed orders
    6   by the Parties, on July 5, 2022, the Court denied Plaintiffs’ Motion to Substitute,
    7   decertified the “Air Subclass” and “Ground Subclass,” ordered that the above-
    8   captioned action would proceed as an individual action, and ordered the parties to
    9   meet and confer on a proposed schedule for the remaining pretrial dates and trial date
  10    in this matter (Dkt. 285);
  11            WHEREAS, on September 14, 2022, the Court issued an Order to Show Cause
  12    (“OSC”) re Dismissal for Lack of Prosecution ordering Plaintiff’s counsel to
  13    schedule a meeting with defense counsel to submit proposed dates for the remaining
  14    pretrial dates and trial date in this action (Dkt. 289);
  15            WHEREAS, the Parties met and conferred and filed a Joint Proposed Schedule
  16    of Pretrial and Trial Dates on September 27, 2022 (Dkts. 290 and 290-1);
  17            WHEREAS, the Court entered an order discharging the OSC and entering the
  18    dates proposed by the Parties (“Schedule”) on September 29, 2022 (Dkt. 292);
  19            WHEREAS, TORC filed a motion for judgment on the pleadings (“Motion”)
  20    on January 13, 2023, which was noticed for a hearing on February 13, 2023 (Dkt.
  21    294);
  22            WHEREAS, on February 8, 2023, following briefing on the Motion, the Court
  23    issued an order taking the Motion off calendar and under submission (Dkt. 301);
  24            WHEREAS, on February 27, 2023, the Court entered an order granting
  25    Defendants’ Motion, which dismissed Plaintiff’s trespass claim against TORC and
  26    ExxonMobil with prejudice, but granted Plaintiff leave to amend his nuisance claims
  27    against TORC (“Order”);
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                                                                   JOINT STIPULATION TO CONTINUE TRIAL
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    1         WHEREAS, the Order permits Plaintiff to file and serve an amended
    2   complaint no later than March 25, 2023;
    3         WHEREAS, pursuant to the Schedule, TORC’s expert reports are due on
    4   March 25, 2023, the expert discovery cutoff is set for April 25, 2023, the last day to
    5   hear motions is June 12, 2023, and trial is currently set for September 19, 2023 (Dkt.
    6   290-1);
    7         WHEREAS, following the Court’s Order, the Parties were unable to agree to
    8   a stipulation to stay or continue all pretrial and trial dates pending Plaintiff’s service
    9   of an amended complaint;
  10          WHEREAS, on March 3, 2023, due to this impasse, TORC protectively filed
  11    an Ex Parte Application to Stay Pretrial Deadlines and Trial Date (“Application”);
  12          WHEREAS, the Parties diligently and in good faith met and conferred on
  13    March 3 through March 6, and agreed on March 6 to stipulate to modification of the
  14    schedule of pretrial and trial dates consistent with the revised schedule attached
  15    hereto as Exhibit A.
  16          WHEREAS, the Parties agree that Plaintiff’s amended complaint, in light of
  17    the Order, may impact the claims and issues to be litigated for the remainder of the
  18    case, and thus, the work needed to prepare the case for trial;
  19          WHEREAS, the Parties agree that under the current schedule, and among other
  20    conflicts, it would be unreasonable for rebuttal expert reports to be due on the last
  21    day for Plaintiff to serve an amended complaint;
  22          WHEREAS, the Parties agree that it would conserve the resources of the
  23    Parties and serve judicial economy to stay all dates in this action to allow for Plaintiff
  24    to file an amended complaint, for Defendants to file a responsive pleading, and, if
  25    necessary, for the Court to rule on any motion(s) attacking the amended pleading;
  26          WHEREAS, the Parties agree that this Stipulation obviates the need for the
  27    Court to rule on TORC’s Application;
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    1             WHEREAS, the Parties agree that if the revised schedule attached hereto as
    2   Exhibit A is not acceptable to the Court, the Court should schedule a further case
    3   management conference to work with the Parties to set a new schedule for the case;
    4             THEREFORE, consistent with the foregoing, the Parties hereby stipulate and
    5   respectfully request that:
    6      (i)       The Schedule be modified to continue the remaining pretrial and trial dates
    7                in the above-captioned matter consistent with the schedule of pretrial and
    8                trial dates proposed in Exhibit A;
    9      (ii)      In the alternative, if the schedule set forth in Exhibit A is not acceptable to
  10                 the Court, the Court shall set a further case management conference to work
  11                 with the Parties to set a new schedule for the case; and
  12       (iii)     TORC’s Application is withdrawn.
  13
  14
        Dated: March 6, 2023                              MICHAEL J. FINNEGAN
  15                                                      MARK E. ELLIOTT
                                                          PILLSBURY WINTHROP SHAW
  16                                                      PITTMAN LLP
  17
  18                                                      By:    /s/ Mark E. Elliott
                                                               Mark E. Elliott
  19                                                      Attorneys for Defendant
                                                          TORRANCE REFINING COMPANY
  20                                                      LLC
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                                                                  JOINT STIPULATION TO CONTINUE TRIAL
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    1
        Dated: March 6, 2023
    2                                                 MATTHEW J. MATERN
                                                      JOSHUA D. BOXER
    3                                                 TAGORE O. SUBRAMANIAM
                                                      MATERN LAW GROUP, PC
    4
    5
                                                      By:    /s/ Joshua D. Boxer
    6
    7                                                 Attorney for Plaintiff
                                                      JOSE NAVARRO
    8
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  11
  12                                          Attestation
  13          I hereby attest that all signatories listed, and on whose behalf this filing is
  14    submitted, concur in its content and have authorized its filing.
  15
              Dated: March 6, 2023              MICHAEL J. FINNEGAN
  16                                            MARK E. ELLIOTT
                                                PILLSBURY WINTHROP SHAW
  17                                            PITTMAN LLP
  18                                            By:    /s/ Mark E. Elliott
  19                                                  Mark E. Elliott

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                                                                JOINT STIPULATION TO CONTINUE TRIAL
                                                  -5-                              AND PRETRIAL DATES
                                                                         Case No. 2:17-CV-02477-DSF (SKx)
